Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 1 of 151 PageID
                                   #: 2086




               EXHIBIT 7-A
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 2 of 151 PageID
                                   #: 2087
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 3 of 151 PageID
                                   #: 2088
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 4 of 151 PageID
                                   #: 2089
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 5 of 151 PageID
                                   #: 2090
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 6 of 151 PageID
                                   #: 2091
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 7 of 151 PageID
                                   #: 2092
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 8 of 151 PageID
                                   #: 2093
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 9 of 151 PageID
                                   #: 2094
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 10 of 151 PageID
                                   #: 2095
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 11 of 151 PageID
                                   #: 2096
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 12 of 151 PageID
                                   #: 2097
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 13 of 151 PageID
                                   #: 2098
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 14 of 151 PageID
                                   #: 2099
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 15 of 151 PageID
                                   #: 2100
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 16 of 151 PageID
                                   #: 2101
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 17 of 151 PageID
                                   #: 2102
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 18 of 151 PageID
                                   #: 2103
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 19 of 151 PageID
                                   #: 2104
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 20 of 151 PageID
                                   #: 2105
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 21 of 151 PageID
                                   #: 2106
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 22 of 151 PageID
                                   #: 2107
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 23 of 151 PageID
                                   #: 2108
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 24 of 151 PageID
                                   #: 2109
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 25 of 151 PageID
                                   #: 2110
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 26 of 151 PageID
                                   #: 2111
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 27 of 151 PageID
                                   #: 2112
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 28 of 151 PageID
                                   #: 2113
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 29 of 151 PageID
                                   #: 2114
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 30 of 151 PageID
                                   #: 2115
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 31 of 151 PageID
                                   #: 2116
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 32 of 151 PageID
                                   #: 2117
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 33 of 151 PageID
                                   #: 2118
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 34 of 151 PageID
                                   #: 2119
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 35 of 151 PageID
                                   #: 2120
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 36 of 151 PageID
                                   #: 2121
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 37 of 151 PageID
                                   #: 2122
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 38 of 151 PageID
                                   #: 2123
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 39 of 151 PageID
                                   #: 2124
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 40 of 151 PageID
                                   #: 2125
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 41 of 151 PageID
                                   #: 2126
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 42 of 151 PageID
                                   #: 2127
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 43 of 151 PageID
                                   #: 2128
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 44 of 151 PageID
                                   #: 2129
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 45 of 151 PageID
                                   #: 2130
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 46 of 151 PageID
                                   #: 2131
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 47 of 151 PageID
                                   #: 2132
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 48 of 151 PageID
                                   #: 2133
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 49 of 151 PageID
                                   #: 2134
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 50 of 151 PageID
                                   #: 2135
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 51 of 151 PageID
                                   #: 2136
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 52 of 151 PageID
                                   #: 2137
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 53 of 151 PageID
                                   #: 2138
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 54 of 151 PageID
                                   #: 2139
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 55 of 151 PageID
                                   #: 2140
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 56 of 151 PageID
                                   #: 2141
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 57 of 151 PageID
                                   #: 2142
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 58 of 151 PageID
                                   #: 2143
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 59 of 151 PageID
                                   #: 2144
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 60 of 151 PageID
                                   #: 2145
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 61 of 151 PageID
                                   #: 2146
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 62 of 151 PageID
                                   #: 2147
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 63 of 151 PageID
                                   #: 2148
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 64 of 151 PageID
                                   #: 2149
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 65 of 151 PageID
                                   #: 2150
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 66 of 151 PageID
                                   #: 2151
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 67 of 151 PageID
                                   #: 2152
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 68 of 151 PageID
                                   #: 2153
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 69 of 151 PageID
                                   #: 2154
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 70 of 151 PageID
                                   #: 2155
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 71 of 151 PageID
                                   #: 2156
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 72 of 151 PageID
                                   #: 2157
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 73 of 151 PageID
                                   #: 2158
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 74 of 151 PageID
                                   #: 2159
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 75 of 151 PageID
                                   #: 2160
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 76 of 151 PageID
                                   #: 2161
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 77 of 151 PageID
                                   #: 2162
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 78 of 151 PageID
                                   #: 2163
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 79 of 151 PageID
                                   #: 2164
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 80 of 151 PageID
                                   #: 2165
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 81 of 151 PageID
                                   #: 2166
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 82 of 151 PageID
                                   #: 2167
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 83 of 151 PageID
                                   #: 2168
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 84 of 151 PageID
                                   #: 2169
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 85 of 151 PageID
                                   #: 2170
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 86 of 151 PageID
                                   #: 2171
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 87 of 151 PageID
                                   #: 2172
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 88 of 151 PageID
                                   #: 2173
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 89 of 151 PageID
                                   #: 2174
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 90 of 151 PageID
                                   #: 2175
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 91 of 151 PageID
                                   #: 2176
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 92 of 151 PageID
                                   #: 2177
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 93 of 151 PageID
                                   #: 2178
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 94 of 151 PageID
                                   #: 2179
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 95 of 151 PageID
                                   #: 2180
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 96 of 151 PageID
                                   #: 2181
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 97 of 151 PageID
                                   #: 2182
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 98 of 151 PageID
                                   #: 2183
Case 1:23-cv-01675-KAM-TAM   Document 79-7   Filed 07/10/25   Page 99 of 151 PageID
                                   #: 2184
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 100 of 151
                              PageID #: 2185
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 101 of 151
                              PageID #: 2186
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 102 of 151
                              PageID #: 2187
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 103 of 151
                              PageID #: 2188
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 104 of 151
                              PageID #: 2189
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 105 of 151
                              PageID #: 2190
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 106 of 151
                              PageID #: 2191
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 107 of 151
                              PageID #: 2192
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 108 of 151
                              PageID #: 2193
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 109 of 151
                              PageID #: 2194
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 110 of 151
                              PageID #: 2195
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 111 of 151
                              PageID #: 2196
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 112 of 151
                              PageID #: 2197
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 113 of 151
                              PageID #: 2198
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 114 of 151
                              PageID #: 2199
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 115 of 151
                              PageID #: 2200
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 116 of 151
                              PageID #: 2201
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 117 of 151
                              PageID #: 2202
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 118 of 151
                              PageID #: 2203
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 119 of 151
                              PageID #: 2204
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 120 of 151
                              PageID #: 2205
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 121 of 151
                              PageID #: 2206
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 122 of 151
                              PageID #: 2207
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 123 of 151
                              PageID #: 2208
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 124 of 151
                              PageID #: 2209
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 125 of 151
                              PageID #: 2210
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 126 of 151
                              PageID #: 2211
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 127 of 151
                              PageID #: 2212
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 128 of 151
                              PageID #: 2213
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 129 of 151
                              PageID #: 2214
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 130 of 151
                              PageID #: 2215
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 131 of 151
                              PageID #: 2216
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 132 of 151
                              PageID #: 2217
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 133 of 151
                              PageID #: 2218
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 134 of 151
                              PageID #: 2219
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 135 of 151
                              PageID #: 2220
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 136 of 151
                              PageID #: 2221
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 137 of 151
                              PageID #: 2222
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 138 of 151
                              PageID #: 2223
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 139 of 151
                              PageID #: 2224
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 140 of 151
                              PageID #: 2225
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 141 of 151
                              PageID #: 2226
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 142 of 151
                              PageID #: 2227
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 143 of 151
                              PageID #: 2228
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 144 of 151
                              PageID #: 2229
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 145 of 151
                              PageID #: 2230
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 146 of 151
                              PageID #: 2231
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 147 of 151
                              PageID #: 2232
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 148 of 151
                              PageID #: 2233
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 149 of 151
                              PageID #: 2234
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 150 of 151
                              PageID #: 2235
Case 1:23-cv-01675-KAM-TAM   Document 79-7 Filed 07/10/25   Page 151 of 151
                              PageID #: 2236
